    Case 9:25-cv-80521-RLR Document 12 Entered on FLSD Docket 05/15/2025 Page 1 of 5

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     Case 9:25-cv-80521-RLR Document 12 Entered on FLSD Docket 05/15/2025 Page 2 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:           AL~ Da,t/p.$.
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          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
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                                                                             CLERK OF COURT

             May 15, 2025                                                                        s/ Nadhege Augustin
Date: - - - - - - - --
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        Case 9:25-cv-80521-RLR Document 12 Entered on FLSD Docket 05/15/2025 Page 3 of 5


. AO 440 '(Rev. 06/12) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
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                               Defendant(s)                         )

                                                      SUMMONS IN A CIVIL ACTION

  To: (Defendant 's name and address)




            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 ( a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are:                 AL Fr-e.o/ DQ.v I S
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         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                May 15, 2025
  Date: - - - - - - - - -
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                                                                                                             s/ Deputy
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 Case 9:25-cv-80521-RLR Document 12 Entered on FLSD Docket 05/15/2025 Page 4 of 5


AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
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                                                 SUMMONS IN A CIVIL ACTION

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          Within 21 days after ser,yice of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 ( a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion und~'Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attbrney,
whose name and address are:

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       If you fail to respond, judgment by default will be enteredigainst you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


      May
Date: - ~15,
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      Case 9:25-cv-80521-RLR Document 12 Entered on FLSD Docket 05/15/2025 Page 5 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DIS1RICT COURT


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                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)




          A lawsuit has been filed against you.

         Within 21 days after servi~~ of this swnmons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
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               May 15, 2025                                                                  s/ Nadhege Augustin
Date: - - - - - - - - -
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